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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 Joseph Burgess,                     )
                                     )
             Plaintiff,              )
                                     )
       vs.                           ) Case No.: 1:24-cv-01577-RLY-MG
                                     )
 TrueAccord Corp,                    )
                                     )
             Defendant.              )
 ____________________________________)___________________________________

                 PLAINTIFF’S MOTION TO DISMISS WITH PREJUDICE

        Plaintiff, by counsel, due to having settled the issues of the above-referenced action with

 the Defendant, herein moves this Court to dismiss this cause of action with prejudice, with each

 party being responsible for its own respective costs and expenses, including but not limited to

 attorneys’ fees, incurred in connection with this cause.


                                                      Respectfully submitted,

                                                      _/s/ John T. Steinkamp
                                                      John T. Steinkamp
                                                      John Steinkamp & Associates
                                                      5214 S. East St., Ste. D1
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                                                      (317) 217-1320 fax
                                                      john@johnsteinkampandassociates.com
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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 10, 2024 a copy of the foregoing Motion to Dismiss
 was e-mailed and mailed, by first-class U.S. Mail, postage prepaid and properly addressed to the
 following:

        Vanessa White
        TrueAccord
        Counsel for Defendant
        legal@trueaccord.com

                                                     Respectfully Submitted,

                                                     /s/John T. Steinkamp
                                                     John T. Steinkamp
                                                     John Steinkamp & Associates
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